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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

                         18-
 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                 amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Agrokor d.d.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                       Federal Employer Identification Number (EIN)       9 ___
                                                                                                          ___ 8 – 1___ 4___ 2___ 5   1 ___
                                                                                                                                 ___ ___ 0 ___
                                                                                                                                            2

                                                  ✔
                                                             HR05937759187
                                                        Other ___________________________.                     Croatian Tax ID
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Fabris Peruško
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Extraordinary Administration Proceedings in Companies of Systemic Importance of the Republic of Croatia
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           ✔
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  See resolutions appointing the Foreign Representative.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign              ✔
                                                 No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                                 Yes




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Debtor          Agrokor  d.d.
                _______________________________________________________                                                  18-
                                                                                                  Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Croatia
                                        ______________________________________________                   Ulica Marijiana Cavica 1
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Zagreb
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Croatia
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 Ulica Marijiana Cavica 1
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Zagreb
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Croatia
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              http://www.agrokor.hr/en/
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor        Agrokor  d.d.
              _______________________________________________________                                                18-
                                                                                              Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                             Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.
                                       ✔
                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                             
                                             Each of the Debtors has either issued or guaranteed certain bonds that are governed by New York
                                             law. Additionally, each of the Debtors has property in the United States in the form of a bank account.
                                             ___________________________________________________________________________.

13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8 /s/ Fabris Peruško
                                            ________________________________________________           Fabris Peruško
                                                                                                       _______________________________________________
                                           Signature of foreign representative                         Printed name


                                       Executed on         07/11/2018
                                                           __________________
                                                            MM / DD / YYYY



                                       8    ________________________________________________           _______________________________________________
                                           Signature of foreign representative                         Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Adam C. Paul
                                            _________________________________________________ Date                  07/12/2018
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Adam   C. Paul, P.C.
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Kirkland & Ellis LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           300 North LaSalle
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Chicago
                                           ____________________________________________________ IL__________________________________________
                                                                                                             60654
                                           City                                                            State          ZIP Code


                                           (312) 862-2000
                                           ____________________________________                            adam.paul@kirkland.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           6285556                                                IL
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




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                                  EXHIBIT A

                Statement Pursuant to Bankruptcy Rule 1007(a)(4)
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    James H.M. Sprayregen, P.C.                               Adam C. Paul, P.C. (pro hac vice pending)
    Daniel Rudewicz                                           Brad Weiland (pro hac vice pending)
    KIRKLAND & ELLIS LLP                                      Whitney Fogelberg (pro hac vice pending)
    601 Lexington Avenue                                      KIRKLAND & ELLIS LLP
    New York, New York 10022                                  300 North LaSalle
    Telephone:    (212) 446-4800                              Chicago, Illinois 60654
    Facsimile:    (212) 446-4900                              Telephone:     (312) 862-2000
                                                              Facsimile:     (312) 862-2200

    Counsel to the Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                   )
    In re:                                                         )   Chapter 15
                                                                   )
    AGROKOR D.D., et al.,                                          )   Case No. 18-[____] (____)
    Debtors in a Foreign Proceeding, 1                             )
                                                                   )
                             Debtors.                              )   (Joint Administration Requested)
                                                                   )

                  STATEMENT PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

             Fabris Peruško, in his capacity as the authorized foreign representative (the “Foreign

Representative”) of the foreign debtor Agrokor d.d. in the above-captioned proceeding (the

“Foreign Debtor”), whose extraordinary administration proceedings pursuant to the Act on the

Extraordinary Administration Proceedings in Companies of Systemic Importance of the Republic

of Croatia are currently pending in the Republic of Croatia (the “Croatian Proceedings”), hereby

submits this statement pursuant to Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure.




1
      The Debtors in these chapter 15 cases, along with the last four digits of each Debtor’s U.S. federal tax
      identification number, are: Agrokor d.d. (5102); Agrokor Trgovina d.o.o. (5084); Belje d.d. (5089); Ledo d.d.
      (5083); Jamnica d.d. (5080); Konzum d.d. (5074); PIK-Vinkovci d.d. (5314); Vupik d.d. (6750); Zvijezda d.d.
      (5061). The location of Agrokor d.d.’s corporate headquarters and the service address for all of the Debtors is:
      8OLFD0DULMDQDýDYLüD+5-10000 Zagreb, Croatia.
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I.     Corporate Ownership Statement (Fed. R. Bankr. P. 7007.1).

       Adria Group Holding B.V. owns 95.52% of the Foreign Debtor’s equity as of June 5, 2018.

II.    Persons or Bodies Authorized to Administer Foreign Proceedings of the Foreign
       Debtor.

       As of July 12, 2018 (the “Petition Date”), the Foreign Representative is authorized to

administer a “foreign proceeding” of the Foreign Debtor. The service address for the Foreign

Debtor is Ulica Marijana ýDYLüD+5-10000 Zagreb, Croatia, Attn: Fabris Peruško.

III.   Pending Litigation.

       The Foreign Representative is not aware of any litigation involving the Foreign Debtor

currently pending in the United States.

IV.    Provisional Relief.

       As of the Petition Date, the Foreign Debtor is not seeking any provisional relief.

V.     Additional Foreign Proceedings.

       The Foreign Debtor is involved, or was recently involved, in a proceeding in the following

countries:     England and Wales, Serbia, Slovenia, Bosnia-Herzegovina, Montenegro, and

Switzerland.




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New York, New York          /s/ Adam C. Paul
Dated: July 12, 2018        James H.M. Sprayregen, P.C.
                            Daniel Rudewicz
                            KIRKLAND & ELLIS LLP
                            601 Lexington Avenue
                            New York, New York 10022
                            Telephone:    (212) 446-4800
                            Facsimile:    (212) 446-4900
                                - and -
                            Adam C. Paul, P.C. (pro hac vice pending)
                            Brad Weiland (pro hac vice pending)
                            Whitney Fogelberg (pro hac vice pending)
                            KIRKLAND & ELLIS LLP
                            300 North LaSalle
                            Chicago, Illinois 60654
                            Telephone:     (312) 862-2000
                            Facsimile:     (312) 862-2200

                            Counsel to the Foreign Representative
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                                 EXHIBIT B

                               Board Resolutions
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                                 EXHIBIT C

                             Commencement Order
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